                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE



 UNITED STATES OF AMERICA                          )
                                                   )
 V.                                                )              NO. 2:14-CR-107 (4)
                                                   )
 JAMES ELMER MCLAIN, III.                          )



                             MEMORANDUM AND ORDER

        The purpose of this order is to memorialize the circumstances surrounding the

 appointment of CJA panel attorney J. Russell Pryor to represent this defendant

        Mr. Pryor earlier was appointed to represent another defendant in this case.

 Attorney Pryor promptly traveled to the detention facility where that defendant was

 housed to introduce himself and to have an initial conference. On arriving, however, that

 defendant immediately told attorney Pryor that the defendant’s wife had retained an

 attorney to represent him, and Mr. Pryor’s services would not be needed. That defendant

 essentially said nothing else to Mr. Pryor, and certainly did not discuss any facts of this

 case with him. Under these circumstances, attorney Pryor has no actual or potential

 conflict of interest, and for that reason he was appointed to represent the defendant

 McLain.

        SO ORDERED:



                                                    s/Dennis H. Inman
                                                   United States Magistrate Judge



Case 2:14-cr-00107-PLR-MCLC         Document 33        Filed 11/12/14    Page 1 of 1     PageID
                                          #: 76
